      Case 0:18-mj-06300-AOV Document 16 Entered on FLSD Docket 07/23/2018 Page 1 of 1
                                   COURT M INUTES/ORDER
                   U nited States M agistrate Judge Patrick M .Hunt
                                                                                Date: 07/23/18         Time:11:00a.m.
Defendant:Ralph Ram pulla,Jr.                  J#:41653-054 Case #:                18-6300-ValIe
AUSA:CynthiaW ood(FrancisViamontesDuty) Attorney:
Violation: Conspiracy to Com m itW ire Fraud
Proceeding: ReportRe Counsel& Arraignm ent                         CJA Appt:
Bond/PTD Held: &Yes                      Recommended Bond:
Bond Setat; $10O,000-PSB                                            Co-signed by:
rvl surrenderand/ordonotobtainpassports/traveldocs                          Language'
                                                                                    .
  r- Reportto PTSas directed/or       x'saweek/monthby                      Disposition'
                                                                                       .
     phone:       x'saweek/monthinperson                                    Ajjpartiespresent    .


  C
      Random urine testing by PretrialServices
      Treatm entasdeem ed necessary
                                                                            Deftsigned W aiverOfTim ely
      Refrain from excessive use ofalcohol
                                                                            Prelim inary Exam ination.
  r Participate in m entalhealth assessm ent& treatm ent
 r'
  r'l Maintainorseekfull-timeemployment/education
                                                                            Deftrequested additionaltim e          a
  '
      No contactwithvictims/witnesses
                                                                             o hire a Iaw yer.
  c No firearm s
  ,   Notto encum berproperty
 r'
  r) Maynotvisittransportationestablishments
     HomeConfinement/ElectronicMonitoringand/or
      Curfew             pm to         am ,paid by
  r
      Allow ances:M edicalneeds,courtappearances,attorney visits,
      religious,em ploym ent
 r-
  rl Travelextendedto:
 C'
  'I Other:
NEXT COURT APPEARANCE     oate;                Tjm e;            Judge:                          Place:

ReportRECounsel: 08/20/18                     11:00 a.m .        Duty                            FLL
PTD/BondHearing:
Prelim/ArraignorRemoval: 09/19/18             11:00 a.m.         Duty                            FLL
StatusConference RE:
               The moti on to continue to permi t the defendantto hire counselis GM NTED.The time from te ay through the
Check if       rexhedul  ed date isexcluded from the deadline fortri
                                                                   alascom puted underthe Speedy Tri
                                                                                                   alAct since the endsof
Applicable:    .usticeserved bygrantingthiscontinuanceoutweighthe interestsofthe defendantandthepublicinspeedytrial.
D.A.R.       11:42:36                                                        Tim e in Court; 20 M ins
